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IN THE UNITED sTATES DISTRICT CoURT MAY 1 6 2015
FoR THE NoRTHERN DISTRICT oF oKLAHOMA Phi/ L

(1) LANCE w. HIGHTowER and CouRT
(2) sUE 1. HIGHTOWER,

Plaintiffs,

C;Seaocv - 2 '7 4 JED - FHM

(l) USAA CASUALTY INSURANCE Removedji'om the District Court of

 

 

CO. and Tulsa County, State of Oklahoma,
(2) THOMAS A. FULTON, Independent Case No. CJ-2016-014]2
Appraiser,
Defendants.
NOTICE OF REMOVAL

Defendant USAA Casualty Insurance Company (“USAA CIC”), pursuant to 28 U.S.C.
§§ 1332, 1441, and 1446, removes the above-captioned action pending in the District Court of
Tulsa County, State of Oklahoma, to the United States District Court for the Northern Distn`ct of
Oklahoma. The grounds for removal are as follows:

1. Plaintiffs commenced this action entitled Lance W. Hightower and Sue I.
Hightower v. USAA Casualty Insurance Co. and Thomas A. Fulton, Independent Appraiser, CJ-
2016-1412 (thc “Action”), by filing a Petition with the District Court of Tulsa County, State of
Oklahoma, on April 12, 2016. See Ex. 1, Pet. An Amended Petition [hereinafter, the “Amended
Complaint”] was filed by Plaintiffs on Apri125, 2016. See Ex. 2, Am. Compl.

2. The Amended Complaint purports to state claims against USAA CIC for bad faith
(Count I), breach of contract (Count II), and intentional infliction of emotional distress (Count
IIl), and a claim against Defendant Thomas Fulton for negligence (Count IV).

3. The original Petition in the Action is attached as Exhibit 1. The Amended

Complaint is attached as Exhibit 2. The Summons served on USAA CIC is attached as Exhibit

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3. The Summons served on Fulton is attached as Exhibit 4. A copy of the Docket Sheet, Tulsa
County, Case No. CJ-2016-1412, is attached as Exhibit 5. USAA CIC is unaware of the
existence of any process, pleadings, or orders other than the documents included in Exhibits l-4.
Moreover, there are no motions pending before the Tulsa County District Court in this matter,
nor are any hearings currently set.

4. As set forth more fully below, this case is properly removed to this Court under
28 U.S.C. §§ 1332, 1441, and 1446 because USAA CIC has satisfied the procedural
requirements for removal, and this Court has subject matter jurisdiction under 28 U.S.C. § 1332,
I. USAA CIC has satisfied the procedural requirements for removal.

5. Plaintiffs served the Amended Complaint and Summons on USAA CIC by
certified mail on April 29, 2016. See Ex. 3, USAA CIC Summons.

6. Plaintiffs served the Amended Complaint and Summons on Fulton by certified
mail on Apn`129, 2016. See Ex. 4, Fulton Summons.

7. Because this Notice of Removal is being filed within 30 days of service of the
Amended Complaint and Summons on both USAA CIC and Fulton, it is timely under 28 U.S.C.
§ l446(b).

8. Fulton’s consent is not required for removal of this action because he is not
properly joined. See 28 § 1446(b)(2)(A) (“When a civil action is removed solely under section
l44l(a), all defendants who have been grerrl}g joined and served must join in or consent to the
removal of the action.” (emphasis added)); Jernigan v. Ashland Oil Inc. 989 F.2d 812, 815 (Sth

Cir. 1993) (per curiam).

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9. Under 28 U.S.C. § l446(a), the United States District Court for the Northem
District of Oklahoma is the appropriate court for filing this Notice of Removal from the District
Court of Tulsa County, Oklahoma, where the Action is pending. See 28 U.S.C. § 116(a).

10. Venue is proper pursuant to 28 U.S.C. §§ l441(a) and 139l(b).

II. Removal is proper because this Court has subject matter jurisdiction under
28 U.S.C. § 1332.

ll. This Court has original jurisdiction over the Action under the diversity of
citizenship provision contained in 28 U.S.C. § l332(a) because this is a civil action (A) where
the amount in controversy exceeds the sum or value of $75,000, exclusive of interest and costs,
and (B) between citizens of different states. Thus, the Action may be removed to this Court by
the USAA CIC pursuant to 28 U.S.C. § l44l(a).

A. The amount in controversy requirement is satisfied.

12. It is apparent from the face of the Amended Complaint that Plaintiff`s seek
recovery of an amount in excess of $75,000, exclusive of interest and costs. See Ex. 2, Am.
Compl., WHEREFORE clause at p. 6 (“Plaintiffs respectfully pray the Court grant judgment in
favor of Plaintiffs and against Defendant[s] for the causes of action alleged herein in an amount
in excess of $75,000, exemplary and punitive damages, attorney’s fees, costs, pre and post
judgment interest, and for such further relief as the Court deems just and proper.”).

13. The assertions regarding damages in the Amended Complaint are sufficient to
demonstrate that the amount in controversy requirement for diversity jurisdiction has been met.
See 28 U.S.C. § 1446(0)(2).

14. In addition, the contract at issue in this lawsuit_Plaintiffs’ homeowners’

insurance policy issued by USAA CIC, Policy No. CIC 01129 9995 93A_has a dwelling

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coverage (Coverage A) with a limit of $199,000, exceeding the amount-in-controversy
requirement for diversity jurisdiction See Ex. 6, Homeowners Policy Packet, at 3.

B. Complete diversity of citizenship exists between Plaintiffs and USAA
CIC-the only properly joined defendant.

15. Plaintiffs Lance Hightower and Sue Hightower allege they are residents of
Oklahoma. See Ex. 2, Am. Compl. 1|1] 1-2. Residence, while not equivalent to citizenship, is
prima facie evidence of domicile. See State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520
(10th Cir. 1994). Dornicile is equivalent to citizenship for purposes of diversity jurisdiction See
Smith v. Cummings, 445 F.3d 1254, 1259-60 (10th Cir. 2006). Based on the foregoing and upon
information and belief, Plaintiffs Lance Hightower and Sue Hightower are citizens of Oklahoma.

16. USAA CIC is Plaintiffs’ homeowners’ insurance company. See Ex. 6,
Homeowners Policy Packet, at 3 (showing “USAA CASUALTY INSURANCE COMPANY” at
the top of the page). USAA CIC is an insurance company organized under the laws of the State
of Texas. See Ex. 7, Dishman Decl. 11 3; see also Ex. 2, Am. Compl. 1| 5. Its principal place of
business_that is, Where it directs, controls, and coordinates its activities-is located in Texas.
See Ex. 6, Homeowners Policy Packet, at 3 (indicating an address of “9800 Fredericksburg Road
- San Antonio, Texas 78288”); Ex. 7, Dishman Decl. 11 3; Ex. 8 NAIC Consumer Inf`onnation
Source Search Results (showing “Home Office: TX”);l see also Ex. 2, Am. Compl. 11 5. For
purposes of diversity jurisdiction, USAA CIC is therefore a citizen of Texas. See 28 U.S.C.

§ 1332(¢)(1).

 

l “Diversity of citizenship can be demonstrated by resort to evidence outside the four
corners of the complaint.” Smith v. Hillstone Rest. Grp., Inc., No. l3-80217-CIV, 2013 WL
2048188, at *2 n.3 (S.D. Fla. May 14, 2013); see also id. at *1 n.2 (“The Court may look beyond
[the plaintiff]’s complaint to determine whether the parties are diverse.”).

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C. Fulton’s citizenship should be disregarded for purposes of
determining diversity jurisdiction because he is fraudulently joined.

17. The Court should consider only the citizenship of properly joined defendants in
determining whether diversity of citizenship requirements have been met. See Smoot v. Chicago,
R.I. & P.R. Co., 378 F.2d 879, 882 (10th Cir. 1967) (“[U]pon specific allegations of fraudulent
joinder the court may pierce the pleadings, consider the entire record, and determine the basis of
joinder by any means available The joinder of a resident defendant against whom no cause of
action is stated is patent sham . . . .” (internal quotations and citations omitted)); see also Dodd v.
Fawcett Publ’ns, Inc., 329 F.2d 82 (10th Cir. 1964) (same). “A defendant’s ‘right of removal
cannot be defeated by a fraudulent joinder of a resident defendant having no real connection with
the controversy.”’ Estes v. Airco Serv., Inc., No. 11-CV-776-GKF~FHM, 2012 WL 1899839, at
*1 (N.D. Okla. May 24, 2012) (quoting Wilson v. Republic lron & Steel Co., 257 U.S. 92, 97
(1921)).

18. Joinder is fraudulent where “(1) plaintiffs jurisdictional allegations are fraudulent
and made in bad faith; or (2) plaintiff has no possibility of recovery against the non-diverse
defendan .” Dollison v. Am. Nat’l Ins. Co., No. l3-CV-100-CVE-FHM, 2013 WL 1944891, at
*3 (N.D. Okla. May 9, 2013) (citing Slover v. Equitable Variable Life Ins. Co., 443 F. Supp. 2d
1272, 1279 (N.D. Okla. 2006)). In this case, Fulton has been fraudulently joined because
Plaintiffs have no possibility of recovery against him. Said differently, “there is no reasonable
basis for the district court to predict that the plaintiff[s] might be able to recover against [the] in-
state defendant,” Fulton, on the single cause of action asserted against him. Wagoner v. Hussey
Seating Co., No. 13-CV-352-TCK-PJC, 2013 WL 6048853, at *2 (N.D. Okla. Nov. 14, 2013)

(quoting Cuevas v. BAC Home Loans Servicz'ng, LP, 648 F.3d 242, 249 (5th Cir. 2011)).

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19. The only claim made against Fulton is Plaintiffs’ claim of negligence However,
no such claim is allowed against Fulton under Oklahoma laW.

20. Federal courts within the Tenth Circuit do not expand state law when determining
whether a defendant is fraudulently joined and whether there is a reasonable basis for a state law
claim against a local defendant Thus, “[w]hen an issue of Haudulent joinder of a nondiverse
defendant is raised, the Court must determine whether a cause of action is stated against the
nondiverse defendant as provided by state law.” Wiley v. Safeway Stores, Inc., 400 F. Supp. 653,
655 (N.D. Okla. 1975) (citations omitted).

21. Here, the Oklahoma Supreme Court has expressly rejected the type of claim
asserted by Plaintiffs_alleged negligence by an independent insurance adjuster.2 In Trinity
Baptist Chu)'ch v. Brotherhood Mutual ]nsurance Services, LLC, the Oklahoma Supreme Court
addressed “Whether an independent insurance adjuster owes a legal duty to the insured such that
[he] may be liable to the insured for negligence in its adjustment of the claim.” 2014 OK 106,
11 1, 341 P.3d 7 5, 77. The answer, in accord with the majority of jurisdictions who have
addressed the same question, was “no.” Id. 1| 1, 26 341 P.3d at 77, 84-85. lnstead, to the extent
an independent adjuster hired by an insurer breached a duty owed to an insured, liability for the
breach fell to the insurer, not the adjuster. See id. 1| 30, 341 P.3d at 86. For this reason, as well
as several policy reasons detailed by the Oklahoma Supreme Court, a negligence claim against

an independent adjuster arising from his work as an independent insurance adjuster simply does

 

2 Plaintiffs’ Amended Complaint refers to Fulton as an “independent appraiser,” rather
than an “independent adjuster.” See, e.g., Ex. 2, Am. Compl. 1111 4, 32. However, this distinction
is one without a difference First, Fulton actually is a licensed insurance adjuster, not an
appraiser. Second, the services Plaintiffs allege Fulton provided_“evaluation services for
homeowner damage claims,” “inspect[ion] .. . [of] Plaintiff’s home after the reported roof
damage,” and a determination “that the roof damage to Plaintiffs’ home . . . was somehow a
result of a pre-existing condition to the home”_are activities performed by independent
insurance adjusters. Id. 111[ 32-33, 36.

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not exist under Oklahoma law. See id. 11 31, 341 P.3d at 86; see also Wallace v. Allstate Ins. Co.,
No. CIV-12-310-HE, 2012 WL 2060664 (W.D. Okla. June 7, 2012) (determining, pre-Trinily
Baptist, than an independent insurance adjuster retained by an insurer would not owe any duties
to an insured under Oklahoma law); cf Smith v. Allstate Vehicle & Prop. Ins. Co., No. CIV-l4-
18-HE, 2014 WL 1382488, at *3-4 (W.D. Okla. Apr. 8, 2014) (finding joinder fraudulent when
negligent misrepresentation/constructive fraud and breach of fiduciary duty claims were made
against an insurance agent).

22. Trinity Baptist is dispositive as to whether Plaintiffs have a viable negligence
claim against Fulton. Based on the above authorities and the allegations in the Amended
Complaint, Plaintiffs have no possibility of recovery against Fulton. Fulton_an insurance
adjuster who is not party to the insurance contract and is without any duty owed to the insured_
cannot be held liable in negligence to Plaintiffs.

23. By including Fulton in the Amended Complaint, Plaintiffs are attempting to rely
on a claim that does not exist as a matter of law in order to remain in state court by bypassing 28
U.S.C. § 1441. USAA CIC and Fulton therefore assert that this removal is proper based on
fraudulent joinder principles

24. Thus, there is complete diversity between (A) Plaintiffs, as citizens of Oklahoma,
and (B) USAA CIC, which is the only properly joined defendant and is a citizen of Texas.

25. USAA CIC reserves the right to amend or supplement this Notice of Removal.

26. USAA CIC reserves all defenses, including, without limitation, those set forth in
Fedcral Rule of Civil Procedure 12(b). USAA CIC will, pursuant to Rule 81(c)(2), file its

answer and/or Rule 12(b) motion within seven days of the filing of this Notice of Removal.

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27. Written notice of the filing of this Notice of Removal will be given to Plaintiffs

and the state court promptly after the filing of the Notice of Removal pursuant to 28 U.S.C.

§ l446(d).
WHEREFORE, USAA CIC removes this Action to this Court under 28 U.S.C. §§ 1332,

1441, and 1446, and invokes this Court’s jurisdiction

Respectfully submitted, . '
§1,,;' a ;Qi-,A,,,, 27 aaa M_/
.s'/Jorlt' W. Dishman CW""‘ K 71(“4¢ /' -Y)

Jodi W. Dishman, OBA # 20677
Andrew J. Morris, OBA # 31658
MCAFEE &, TA FT

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Attomeysfor Defendants USAA Casuahj)
Insurance Company and Thomas Fulton

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CERTIFICATE OF SERVICE

I hereby certify that on this 16th day of May, 2016, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
registrants:

Raymond S. Allred

Mbilike M. Mwafulirwa

RICHARDSON RlCHARDSON BOUDREAUX
7447 S. Lewis Ave.

Tulsa, OK 74136

Attorneys for Plaintiffs
l further certify that on this 16th day of May, 2016, I caused a file-stamped copy of the

above and foregoing document to be transmitted by certified U.S. mail, postage prcpaid, to the

above-indicated counsel for Plaintiffs.

s/Jodi W. Dishman
Jodi W. Dishman

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IN TI'[E DISTRICT COURT IN AND FOR TULSA COIDISTRICT CQURT
STATE OF OKLAHOMA F l L E D

APR 1 2 2016
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J-Cser…# - 12

Attorney Lien Claimed
Jury Trial Demanded

LANCE W. HIGHTOWER,
SUE I. HIGHTOWER,

Plaintiffs,
v.
USAA CASUALTY INSURANCE CO.;
AND THOMAS A. FULTON,
Independent Appraiser,

Defendants.

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PETI'I`ION
COME NOW Plaintiffs Lance W. Hightower and Sue I. Hightower, (collectively
“Plaintiifs”), by and through their counsel of record Richardson Richardson Boudreaux, an§

‘t'»

hereby assert their claims and causes of action against Defendants, USAA _Casualty:g

‘1;'1;;£‘:_ --

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Insurance Co., and Thomas A. Fulton, (collectively “Defendants.”). In furmermc§gtl§ereo§u
Plaintiffs inform the court as follows; §§ -:~.‘
..;. §

I. PARTlEs, VENUE, AND JURrschroN
1. Plaintin Lance W. Hightower is a resident of Tulsa County, Tulsa, Oklahoma.
2. Plaintiff Sue I. Hightoweris a resident of Tulsa County, Tulsa, Oklahoma.
3. Plaintiffs Lance W. Hightower and Sue I. Hightower are husband and wife,

and for all intents and purposes, are and/or were primary policyholders with Defendant.

F`(@VN DC)W age 1 m Exhibit 1

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4. Based on information and belief, Defendant Thomas A. Fulton is an
Oklahoma citizen and independent appraiser who conducts business in Tulsa County. He
appraised Plaintiffs’ home on behalf of USAA Insurance Co., Inc.

5. Based upon information and belief, USAA Insurance Co., Inc., (“USAA”) is a
property and casualty insurance company organized under the laws of the State of Texas.

6. Based upon information and belief, USAA offers, sells, and provides
insurance related services and products in the State of Oklahoma.

7. Subject matter jurisdiction is proper in the district courts of the State of
Oklahoma pursuant to Okla. Const. art. 7, §7 (gra.nting district courts of this state unlimited
general jurisdiction over all matters sounding either in law or equity) and Okla. Stat. tit. 12,
§2004(F) (authorizing courts of this state to exercise jurisdiction on any basis consistent with
the Constitutions of the United States and Oklahoma). The amount in controversy exceeds
Seventy-Five Thousand Dollars ($75,000.00).

8. Personal jurisdiction is not in question for the Oklahoma based Defendant. For
the out of state insurance company Defendant, personal jurisdiction is proper pursuant to the
State of Oklahoma’s long arm statute-Okla. Stat. tit. 12, §2004(F)_authorizing courts of
this state to exercise jurisdiction on any basis consistent with the Constitutions of the United
States and Oklahoma. Defendant Farmers by itself and/or through its agents systematically
offer, sale, and provide insurance related services in the State of Oklahoma.

9. Venue is proper in Tulsa County pursuant to Okla. Stat. tit. 12, §187 as that
provision provides that in cases where all of the defendants, like here, are non-residents of
the State of Oklahoma, then the county in which one or more Oklahoma Plaintiffs reside -

here Tulsa County-is where the action properly lies.

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II. STATEMENT or THE FACTS

10. Plaintiff incorporates all the preceding paragraphs as though stated verbatim
below,

11. Plaintiffs had insured their home in Tulsa, Tulsa County, Oklahoma with
Defendant and had a homeowner’s insurance policy underwritten by Defendants.

12. On or about October, 2015, Plaintiffs’ home suffered wind and subsequent
roof damage.

13. Plaintiffs promptly presented their claim to Defendant, USAA, for processing

14, ` Defendant acknowledged receipt of the claim. However, since the date of loss
in October, 2015 to present and continuing, Defendant has unreasonably, and in bad faith,
refused to pay the proper amount for a valid claim under an insurance policy issued by it.

15. As a result of Defendants’ conduct, Plaintiffs have suffered damages as
alleged herein 4

CAUSE s oF ACTloN

I. BAI) FAITH
(Against USAA)

16. Plaintiffs hereby incorporate all the preceding paragraphs as though stated
verbatim below.

17. Pursuant to the terms of the insurance policy at issue in this case, Defendant
was required to pay Plaintiffs’ claim.

18. The insurer’s failure to pay and/or refusal to pay was unreasonable under the
circumstances of this case because, among other reasons, Defendant unreasonably delayed in
investigating and processing the claim, without just cause, unduly and unreasonably failed to

settle and pay in full a valid claim under the policy.

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19. Defendant’s failure to pay and/or refusal to pay had no reasonable basis and/or
the amount offered to Plaintiffs was unreasonably low.

20. Defendant did not deal fairly and in good faith with Plaintiffs.

21. Defendant’s violation of its duty of good faith and fair dealing Was the direct
and proximate cause of the injury sustained.

II. BREACH oF CoNTRAcT
(Against USAA)

22. Plaintiffs hereby incorporate all the preceding paragraphs, supra, as though
stated verbatim below.

23. Plaintiffs and Defendant had a contract of horne insurance, whereby upon
Plaintiffs timely presentment of validly covered claims, Defendant would within reasonable
time investigate and pay the claims in full.

24. Defendant has, however, breached its contract With Plaintiffs in that even after
being timely presented with validly covered claims, Defendant has failed within reasonable
time to investigate and pay the claims in full.

25. Plaintiffs have suffered damages as a direct and proximate result of the
breach.

III. lN'rENTroNAL INFLlcTIoN or EMoTioNAL Drs'rREss
(Against USAA)

26. Plaintiffs hereby incorporate all the preceding paragraphs, supra, as though

stated verbatim below. 1

27. Defendant’s conduct, as outlined herein, was so extreme and outrageous as to

go beyond all possible bounds of decency and would be considered utterly intolerable in a

civilized society.

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28. Defendant intentionally and/or recklessly caused severe emotional distress to
Plaintiff beyond which a reasonable person could be expected to endure.

29. Altematively, as the natural and probable consequence of Defendant USAA
committing a Willful and intentional tortious act-insurance bad faith_Plaintiffs have
suffered emotional distress

30. Altogether, as a result of Defendant’s conduct, Plaintiffs have suffered

damage complained of herein.

IV. NEGLIGENCE
(Against T. Fulton)

31. Plaintiffs hereby incorporate all the preceding paragraphs, supra, as though
stated verbatim below.

32. Based on information and belief, Defendant F tilton at all times relevant to this
action was an independent professional that provided property appraisal and evaluation
services for homeowner damage claims.

33. Defendant USAA retained Defendant Fulton to inspect and appraise
Plaintiff`s’ home after the reported roof damage

34. Defendant Fulton accepted the assignment and indeed came to Plaintiff`s’
home to evaluate and appraise the damage

35. By accepting to carry out the evaluative assignment on Plaintiffs’ horne that
would be used, among other things, to determine the nature, extent, and cause of damage to
Plaintiffs’ home, Defendant Fulton voluntarily assumed a duty of care to Plaintiff`s.

36. ln performing his professional duty, Fulton was negligent in that he departed

from the professionally expected standards of care when he deliberately falsified his final

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findings to report that the roof damage to Plaintiffs’ home, although clearly caused by the
Wind, was somehow a result of a pre-existing condition to the home,

37. In doing so, Defendant Fulton breached his professional duties of care to
Plaintiffs.

38. As a proximate result of Defendant Fulton’s breach of duty of care, Plaintiffs
have suffered damages as alleged herein.

ExEMPLARY AND PUvaE DAMAGES
(As 'ro cLAlMs IN # I, IH, IV)

39. Plaintiffs hereby incorporate all the preceding paragraphs, supra, as though
stated verbatim below,

40. The acts and omissions by Defendant as set forth in the preceding paragraphs
in this Petition demonstrate that Defendant Was engaged in conduct and/or practices evincing
malice and/or reckless indifference to Plaintiffs’ rights.

41. As a direct result of Defendant’s malice and/or reckless disregard for
Plaintiffs’ rights, Plaintiffs are entitled to exemplary and punitive damages in an amount to
be determined at trial commensurate with the financial resources available to Defendant and
sufficient to deter others similarly situated nom like behavior.

42. In accordance with Okla. Stat. tit. 12 §19.1, Plaintiff has consulted With a
qualified expert who has submitted an Affidavit, which is attached hereto as Exhibit “A”.

PRAvER FoR RELIEF

WHEREFORE, Plaintiffs respectfully pray the Court grant judgment in favor of
Plaintiffs and against Defendant for the causes of action alleged herein in an amount in
excess of $75,000, exemplary and punitive damages, attorney’s fees, costs, pre and post

judgment interest, and for such further relief as the Court deems just and proper.

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Respectfully submitted,

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BoUDREAUx

%//aa/

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Mbilike M. Mwafulirwa, OBA #31164
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Attorneys for Plaintiffs

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AFF|DAV|T OF MARK POLLACK

State of Arkansas )
)ss.
County of Pulas|d )

1. l am an insurance adjuster licensed in the State of Oklahoma, My non-resident
License Nmnber is 74455.

2. lam familiar with the standards of conduct, rules, regulations and laws of an
insurance adjuster/appraiser who operate in the state of Oklahoma during 2015.

3. I have reviewed records from Sue and Lance Hightower (Hightower), USAA
Insurance Company (USAA), ALLCAT Appraisal Service’s appraiser/adj uster Thomas Fulton '
(Fulton), Lawrence Forensic Engineering, and roofing inspection reports from Ronco Construction &
Supply Co., Dun-Rite Rooting, Inc., Impaet Roofmg of Oklahoma, LLC, and 918 Construction.

4. In October of 2015, Hightower’s residence suffered damages as a result of a
windstorm. Hightower submitted a claim to USAA, who in turn retained the services of Fulton to
inspect the residence

5. Fulton submitted information to USAA which lead to USAA only partially
indemnifying Hightower for the damages caused by the windstorm. The information Fulton provided
also lead to a declination of other damages by USAA that should have been paid

6. Hightower obtained the opinion of four firms in'Oklahoma who are in the business
of repairing and replacing roofs, all of whom submitted estimates to replace the entire roof on the
Hightower residence.

7. Fulton’s behavior is not consistent with the degree of skill and care, diligence,
prudence and foresight which would reasonably and ordinarily be expected hom an experienced
insurance professional engaged in the activities as noted above in my opinion.

FURTHER AFFIANT SAYETH NOT.

Mark L. Pouack, cPcu, Alc. RPA. Ltoense 7445'5
subscribed and sworn to before me mrs to day of Apru, 2016. '

M

v

    

 

 

 

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D
IN THE DISTRICT COURT IN AND FOR TULSA CoF”i‘zTRICT COURT

 

STATE OF OKLAHOMA L §§ D
LANCE W. HIGHTOWER, ) AFR 2 5 2015
SUE I. HIGHTOWER, ) MOWE
) GF SMW" COURT
Plainairs, ) am ""H~sa¢%£,,"'f
)
v. ) Case No. CJ-2016-01412
) Judge .Tefferson D. Sellers
USAA CASUALTY INSURANCE CO.; )
AND THOMAS A. FULTON, ) . .
Independent Appraiser, ) Attome-l_' hen Cla‘med
) Jury Trzal Demanded
Defendants. )
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s';~ ;W
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AME_IULH?_T_IIIQ_E ~ §
14 § _`.

COME Now Plaintiffs Lance W. Hightower and sue 1. Highro;».i'é;§;; (co§cavely
“Plaintiffs”), by and through their counsel of record Richardson Richardsorj§§:é§udre§x, and
hereby assert their claims and causes of action against Defendants, USAA Casualty
Insurance Co., and Thomas A. Fulton, (collectively “Defendants.”). In furtherance thereof,
Plaintiffs inform the Court as follows:

l. PARTlEs, VENuE, AND JuRIsDICTloN
l. Plaintiff Lance W. Hightower is a resident of Tulsa County, Tulsa, Oklahoma.
2. Plaintiff Sue I. Hightower is a resident of Tulsa County, Tulsa, Oklahoma.

3. Plaintiffs Lance W. Hightower and Sue I. Hightower are husband and wife,

and for all intents and purposes, are and/or were primary policyholders with Defendant.

P l f 7
age ° Exhibit 2

 

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 19 of 47

4. Based on information and belief, Defendant Thomas A. Fulton is an
Oklahoma citizen and independent appraiser who conducts business in Tulsa County. He
appraised Plaintiffs’ home on behalf of USAA Insurance Co., Inc.

5. Based upon information and belief, USAA Insurance Co., Inc., (“USAA”) is a
property and casualty insurance company organized under the laws of the State of Texas.

6. Based upon information and belief, USAA offers, sells, and provides
insurance related services and products in the State of Oklahoma.

7. Subject matter jurisdiction is proper in the district courts of the State of _
Oklahoma pursuant to Okla. Const. art. 7, §7 (granting district courts of this state unlimited
general jurisdiction over all matters sounding either in law or equity) and Okla. Stat. tit. 12,
§2004(F) (authorizing courts of this state to exercise jurisdiction on any basis consistent with
the Constitutions of the United States and Oklahoma). The amount in controversy exceeds
Seventy~Five Thousand Dollars ($75,000.00). n

8. Personal jurisdiction is not in question for the Oklahoma based Defendant, For
the out of state insurance company Defendant, personal jurisdiction is proper pursuant to the
State of Oklahoma’s long arm statute-Okla. Stat. tit. 12, §2004(F)-authorizing courts of
this state to exercise jurisdiction on any basis consistent with the Constitutions of the United
States and Oklahoma. Defendant, USAA, by itself and/or through its agents systematically
offer, sale, and provide insurance related services in the State of Oklahoma.

9. Venue is proper in Tulsa County pursuant to Okla. Stat. tit. 12, §187 as that
provision provides that in cases where all of the defendants, like here, are non-residents of
the State of Oklahoma, then the county in which one or more Oklahoma Plaintiffs reside -

here Tulsa County~is where the action properly lies.

Page 2 of 7

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 20 of 47

 

II. STATEMENT OF THE FACTS

10. Plaintiff incorporates all the preceding paragraphs as though stated verbatim
below.

ll. Plaintiffs had insured their home in Tulsa, Tulsa County, Oklahoma with
Defendant and had a homeowner’s insurance policy underwritten by Defendants.

12. On or about October, 2015, Plaintiffs’ home suffered wind and subsequent
roof damage.

13. Plaintiffs promptly presented their claim to Defendant, USAA, for processing

14. Defendant acknowledged receipt of the claim. However, since the dateof loss
in October, 2015 to present and continuing, Defendant has unreasonably, and in bad faith,
refused to pay the proper amount for a valid claim under an insurance policy issued by it.

15. As a result of Defendants’ conduct, Plaintiffs have suffered damages as
alleged herein.

CAUSE s or Ac'rroN

I. BAD FAlTH
(Against USAA)

l6. Plaintiffs hereby incorporate all the preceding paragraphs as though stated
verbatim below.

17. Pursuant to the terms of the insurance policy at issue in this case, Defendant
was required to pay Plaintiffs’ claim.

18. The insurer’s failure to pay and/or refusal to pay was unreasonable under the
circumstances of this case because, among other reasons, Defendant unreasonably delayed in
investigating and processing the claim, without just cause, unduly and unreasonably failed to

settle and pay in full a valid claim under the policy.

Page 3 of 7

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 21 of 47

 

19. Defendant’s failure to pay and/or refusal to pay had no reasonable basis and/or
the amount offered to Plaintiffs was unreasonably low.

20. Defendant did not deal fairly and in good faith with Plaintiffs

21. Defendant’s violation of its duty of good faith and fair dealing was the direct
and proximate cause of the injury sustained.

II. BREACH oF CoNTRAcT
(Against usAA)

22. Plaintiffs hereby incorporate all the preceding paragraphs, supra, as though
stated verbatim below,

23. Plaintiffs and Defendant had a contract of home insurance, whereby upon
Plaintiffs timely presentment of validly covered claims, Defendant would within reasonable
time investigate and pay the claims in full.

24. Defendant has, however, breached its contract with Plaintiffs in that even after
being timely presented with validly covered claims, Defendant has failed Within reasonable
time to investigate and pay the claims in full.

25. Plaintiffs have suffered damages as a direct and proximate result of the
breach.

III. lNTENTIoNAL IN.FLlcTroN on EMOTIONAL DrsTREss
(Against USAA)

26. Plaintiffs hereby incorporate all the preceding paragraphs, supra, as though
stated verbatim below.

27. Defendant’s conduct, as outlined herein, was so extreme and outrageous as to

go beyond all possible bounds of decency and would be considered utterly intolerable in a

civilized society.

Page 4 of 7

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 22 of 47

 

28. Defendant intentionally and/or recklessly caused severe emotional distress to
Plaintiff beyond which a reasonable person could be expected to endure.

29. Alternatively, as the natural and probable consequence of Defendant USAA
committing a willii.ll and intentional tortious act-insurance bad faith_Plaintiffs have
suffered emotional distress

30. Altogether, as a result of Defendant’s conduct, Plaintiffs have suffered
damage complained of herein.

IV. NEGLIGENCE
(Against T. Fulton)

31. Plaintiffs hereby incorporate all the preceding paragraphs, supra, as though
stated verbatim below,

32. Based on information and belief, Defendant Fulton at all times relevant to this
action was an independent professional that provided property appraisal and evaluation
services for homeowner damage claims,

33. Defendant USAA retained Defendant Fulton to inspect and appraise
Plaintiffs’ home after the reported roof damage.

34. Defendant Fulton accepted the assignment and indeed came to Plaintiffs’
home to evaluate and appraise the damage

35. By accepting to carry out the evaluative assignment on Plaintiffs’ home that
would be used, among other things, to determine the nature, extent, and cause of damage to
Plaintiffs’ home, Defendant Fulton voluntarily assumed a duty of care to Plaintiffs.

36. In performing his professional duty, Fulton was negligent in that he departed

from the professionally expected standards of care when he deliberately falsified his final

Page 5 of 7

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 23 of 47

findings to report that the roof damage to Plaintiffs’ home, although clearly caused by the
wind, was somehow a result of a pre-existing condition to the home.

37. In doing so, Defendant Fulton breached his professional duties of care to
Plaintiffs.

38. As a proximate result of Defendant Fulton’s breach of duty of care, Plaintiffs
have suffered damages as alleged herein.

ExEMPLARy AND PuNiTivE DAMAGES
(As To CLAiMs iN # I, III, IV)

39. Plaintiffs hereby incorporate all the preceding paragraphs, supra, as though
stated verbatim below,

40. The acts and omissions by Defendant as set forth in the preceding paragraphs
in this Petition demonstrate that Defendant was engaged in conduct and/or practices evincing
malice and/or reckless indifference to Plaintiffs’ rights.

41. As a direct result of Defendant’s malice and/or reckless disregard for
Plaintiffs’ rights, Plaintiffs are entitled to exemplary and punitive damages in an amount to
be determined at trial commensurate with the financial resources available to Defendant and
sufficient to deter others similarly situated from like behavior.

42. In accordance with Okla. Stat. tit. 12 §19.1, Plaintiff has consulted with a
qualified expert who has submitted an Affidavit, which is attached hereto as Exhibit “A”.

PRAYER FoR RELiEF

WHEREFORE, Plaintiffs respectfully pray the Court grant judgment in favor of
Plaintiffs and against Defendant for the causes of action alleged herein in an amount in
excess of $75,000, exemplary and punitive damages, attorney’s fees, costs, pre and post

judgment interest, and for such further relief as the Court deems just and proper.

Page 6 of 7

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 24 of 47

 

Respectfully submitted,

RICHARDSQN, Rici-rAnnsoN,
BouoREAux

%JJM

Raymond s. Aiired, onA #i 1747
Mbilike M. Mwa.fulirwa, OBA #31164
7447 S. Lewis Ave.

Tulsa, Oklahoma 74136

(918) 492-7674 T

(918) 493-192 F

Attorneysfor Plaintiffs

Page 7 of 7

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 25 of 47

AFF|DAV|T OF MARK POL|.ACK

State of Arkaneas )
)ss.
comity of Puiasid )

1. l am an insurance adjuster licenwd in the State ofOkiahoma, My non-resident
Lieense Number is 74455.

2. lam familiar with the smidards ofconduct, niles, regulations and laws of en
insurance adjuster/appraiser who operate in the state of Oklahoma during 2015,

3. I have reviewed records from Sue and Lance Hightower (Hightower), USAA
Insurance Company (USAA), ALLCAT Appraisal Serviee's appraiser/adjuster Thomas Fulton `
(Fultcn), Lawrence Forensic Bngineering, and noting inspection reports from Roneo Constmcticn &
Sirpply Co., Dun-Rite Rooiing, Inc., lmpact Roofing cf Oklahome, LLC, and 918 Constnrction.

4. ln October of2015, Hightower’s residence suB`ered damages as a result of a
windstorm. Hightower submitted a claim to USAA, who intern retained the services of Fulton to
inspect the residence

5. Fulton submitted information to USAA which lead to USAA only partially
indemnifying Hightower for the damages caused by the windstonn. The information Fult:on proviM
also lead to a declination of other damages by USAA that should have been paid

6. Hightower obtained the opinion of four iirms in Oklahoma who are in the business
of repairing and replacing roofs, all ofwhom submitted estimates w replace die entire roof on the
Hightower residence

7. Fulton’s behavior is not consistent with the degree of skill and care, diligence
prudence and foresight which would reasonably and ordinarily be mcpeewd from an experienced
insurance professional engaged in the activities as noted above in my opinion.

cgl

Mark L. Pollack, CPCU, AlC, RPA, Llcense 744-55

subscribed and sworn w before me this la day or Apm. 2016.

FURTHER AFF|ANT SAYETH NOT.

 

 

  

 

 

 

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 26 of 47

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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY

STATE OF OKLAHOMA
LANCE W. I-IIGHTOWER, )
SUE HIGHTOWER, )
)
v. )
)
Plaintiffs, ) Case No. cJ-2016-01412 DISTRICT COURT
) Judge Sellers F l L E D
USAA CASUALTY INSURANCE CO.; )
and THOMAS A. FULTON, independent ) MAY - 4 2016
Appraiser, )
) SIl.LY HOWE SMlTH. COURT Cl.EHK
Defendants. ) smume
M___MMM§
To the above-named Defendant: USAA CASUALTY INSURANCE COMPANY

You have been sued by the above-named Plaintiff(s), and you are directed to file a written
Answer to the attached Petition in the court at the above address within twenty (20) days after service of
this Summons upon you exclusive of the day of service. Within the same time, a copy of your Answer
must be delivered or mailed to the Attorney for the Plaintiff(s). Unless you answer the Petition within
the time stated, judgment will be rendered against you with costs of the action.

issued this l 5 day of 2016.

Court Clerk
By M

Deputy Court Clerk

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(date of service)

(Seal)

This Summons and order was served on

 

Signature of person serving Summons

YGULIAYSEEK THE AD VICE 0FANATTORNEY ONANYMATTER CONNECTED
WITH THIS SUIT OR YOUR ANSWER. SUCHA TTORNEYSHOULD BE CONSULTED
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Exhibit 3

 

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 27 of 47

IN THE DISTRICT COURT IN AND FOR TULSA COUNTY

STATE OF OKLAHOMA
LANCE W. HIGHTOWER, )
SUE HlGHTOWER, )
)
v. )
)
Plaintiffs, ] Case No. C]-2016-01412
] ]udge Sellers
USAA CASUALTY INSURANCE CO.; ]
and THOMAS A. FULTON, lndependent )
Appraiser, )
]
Defendants. ]

AFF[DAV[T AND RETURN OF SERVICE BY CERTIF|ED MAIL

STATE OF OKLAHOMA )
]ss.
COUNTY OF TULSA ]

I, Raymond S. Allred, of lawful age, being first duly sworn, on oath state that
on the 29th day of April, 2016, I served via Certified Mai], Return Receipt Requested,
Receipt Number 7012 3460 0002 7435 4758, from the City of Tulsa, Oklahoma, the
attached Amended Petition, in the above-entitled and numbered action to the
following person to-wit:

USAA Casualty Insurance Co.
c/o Insurance Commissioner
State of Oklahoma

Five Corporat:ion Plaza

3625 NW 56th Street

#100

Oklahoma City, OK 73112-4511

FuRTHaRAFFlANT sAYETH No'r. WJ%W

R$ymond s. Allred, oBA #11747

Subscribed d swo to before e this 3_"L day of May, 201§
Notary: . ‘ - Linda G. Large
My Commi§sion Expires: Nov’ember 1, 2016

  

 

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 28 of 47

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Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 29 of 47

 

Govmon INSURANCE CoMmssxom»:n
MARYFALLW v v ll n JoHN D.ooAx
INSURANCE CoMMIssIoNER
State of Oklahoma
APril 28, 2016 l 0 '
)` k £_"_§ !;`»`
CERT|F|ED MA|L NO: Ca,-by
7015 3010 0001 4736 5092 _

USAA CASUALTY INSURANCE COMPANY
9800 FREDERICKSBURG ROAD,` D-3-W
SAN ANTONIO TX 78288

RE: CJ1601412
In the District Court in TULSA
State of Oklahoma
LANCE W. HIGHTOWER,SUE HIGHTOWER
vs
USAA CASUALTY INSURANCE COMPANY

REce)vz-:D mr i)“z" 2016
near sir Or Mada‘“‘

Enclosed is a copy of the above captioned summons

served on the Insurance Conmiesioner as designated agent
for service of process of foreign insurance companies doing
business in the State of Oklahoma (36 O.S. section 621(B)).

Sincerely,

JOHN DOAK
Insurance Commissioner

duty/law *

Marla Torres legal Department "
dp/enclosure
CERT|F|ED MA|L NO:
THE C°RP°RATI°N COMPANY 7015 3010 0001 4736 5108

1833 SOU'I'H MORGAN ROAD
OKLAHOMA CITY` OK 73128

I-`lVE CORPORATE FLAZA, 3625 N.W. 56° STREET, SUlTE 100 v OKLAHOMA CITY, OKLAHOMA 73112-451!
(405) 521 -2828 0 TOLL FREE (lN STATE) 1'800~522~0011

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 30 of 47

 

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IN THE DlSTRICT COURT [N AND FOR TULSA COUNTY *

STATE OF OKLAHOMA
LANCE W. HIGHTOWER, )
SUE HIGHTOWER, )
)
v. )
)
Plaintiffs, ) Case No. CJ-2016-01412
) Judge Sellers
USAA CASUALTY INSURANCE CO.; )
and THOMAS A. FULTON, Independent ) DISTRICT COURT
Appraiser, ) L
) E o
Defendants. ) MAY -'4 2016
M`LAL_SUMMNS
SAL\.VHOWESMITH OQURTOLERK
To the above~named Defendant: Thomas Fulton, Independent Appraisermopom'mm

You have been sued by the above-named Plaintiff(s), and you are directed to file a written
Answer to the attached Petition in the court at the above address within twenty (20) days after service of
this Summons upon you exclusive of the day of service. Within the same time, a copy of your Answer
must be delivered or mailed to the Attomey for the Plaintiff(s). Unless you answer the Petition within
the time stated, judgment will be rendered against you with costs of the action.

Issued this {3 day of 2016.

Court Clerk `
By \-MM

Deputy Court Clerk
(Seal)

This Summons and order was served on 4 1361 iii ~ MW/ .

(date of service)

 

Signature of person serving'Summ§s

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Exhibit 4

 

Case 4:16-0\/- OO274- .]ED- FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 31 of 47

IN THE DISTRICT COURT lN AND FOR TULSA COUNTY

STATE OF OKLAHOMA

LANCE W. HIGHTOWER, )
sUE HIGHTOWER, )
)
v. )
)

Plaintiffs, ) Case No. CI-2016-01412

) ]udge Sellers

y USAA CASUALTY lNSURANCE CO.; )
and THOMAS A. FUL'I'ON, lndependent )
Appraiser, ]
)
Defendants. ]

AFFIDAVIT AND RETURN OF SERVlCE BY CERTIFIED MAIL

STATE OF OKLAHOMA )
)ss.
COUNTY OF TULSA )

I, Raymond S. Allred, of lawful age, being first duly sworn, on oath state that
on the 29th day of April, 2016, I served via Certified Mail, Return Receipt Requested,
Receipt Number 7015 1529 9993 4172 7618, from the City of Tulsa, Oklahoma, the
attached Amended Petition, in the above-entitled and numbered action to the
following person to-wit:

Thomas Fulton
12503 S. Birch Avenue
lenks, OK 74037

FURTHER AFFlANT sAYETH NoT. %`// §M
l

Raymond S. Allred, OBA #11747

Subscribe nd sw before me this 3__*__d day of M_y, ZOL
Notary: W£ nd/ Lcn§ .Linda G. Large

My Commission Expires: November 1, 2016

-~~SEAL~-»

 

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 32 of 47

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Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 33 of 47

OCIS Case Summal'y t`or CJ-ZOIG-l/-HZ- HIGHTOWER, LANCE W v. USAA CASUAL... Page l of4

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THE OKLAHOMA STATE CouRTs NETwoRK

Home Courts Court Dockets Legal Research Ca|endar Help
The information on this page is NO'l` nn official record Do not rely on thc correctness or completeness ofthis inf`onnation. Vcrify all information with tile official
record kccpcr_ The information contained in this report is provided in compliance \\'it]rt]rc Oklahoma Opcn l{ccr:lrds Act, 5| (i.S I-l.»‘\` l. Ust: nf`this information is
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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY, OKLAHOMA
LANCE W H|C`-iHTO\lf\l'ERl

 

No. CJ-2016-1412

Plaintiff and
’ Civil relief more than $.I0,0BO:
SUE ' 'P'[l'_jr:'t'i;fOWER' BREACH 0F AGREEMENT - CONTRACT)

v.

USAA CASUALTY ENSURANCE CO,
Defendant, and

THOMAS A FULTON.

Defendant

'iled: 04/12/201()

udgc: Sc| lers, .lei`l`t:rson D.

 

 

 

Parties

 

FULTON, THOMAS A , Defendant
H|GHTOWER, LANCE W, Plaintiff
H|GHTOWER, SUE l , Plaintiff

USAA CASUALTY lNSURANCE CO , Defendant

 

Attorneys

Attorney Represented Parties
ALLRED, RAYMOND S(Bar #11747) H|GHTOWER, LANCE W
7447 S LEWiS AVE l-||GHTOWER, SUE l

TULSA, OK 74136

Eve nts

 

Event Party Docket Reporter

|ssues

 

For cases tiled before 111.'2000‘ ancillary issues may not appear except in the docket

Exhibit 5

http://www.oscn.net/applications/oscn/getcaseinformation.asp?query=true&sr... Monday, May 16, 2016

Case 4:16-cv-00274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 34 of 47

 

 

 

 

 

 

 

 

 

OCIS Case Summary for CJ-20]6-l412- HIGHTOWER, LANCE W v. USAA CASUAL... Page 2 of4
|ssue # 1. lssue: BREACH OF AGREEMENT - CONTRACT
(CONTRACT)
Filed byi H|GHTOWER, LANCE W
Filed Datei 04/1 2."2016
Pam¢ Name: Disgosition Information:
Defendant: USAA CASUALTY Pending.
lNSURANCE CO
Defendant FULTON, THOMAS A Pending.
issue # 2. lssl.le: BREACH OF AGREEMENT - CONTRACT
(CONTRACT)
Filed byi HlGHTOWER, SUE|
Filed Date: 04[12/2016
Pagy Name: Disgosition |nformation:
Defendant: USAA CASUALTY Pending.
lNSURANCE CO
Defendant FULTON, THOMAS A Pertding.
Docket
Date Code Count Party Serial # Entry Date
A 12 2016
04-12-2016 TE)<T t 97279994 4:'§]§.,:08:340,,,\,| - s 0.00
C|V[L REL|EF MORE THAN $10,000 lN|T|AL F|L|NG.
04-12-2016 coN“rRAcT - 97279997 jig;j§a§§§§PM Realized s 0.00
BREACH OF AGREEMENT - CONTRACT
04_12_2015 DMFE , 97279993 Apr12 2016 Realized $ 2 00
4;05;08:940¢=~| ~
DlSPUTE MED|AT|ON FEE($ 2.00)
04-12»2016 PFE1 - manage Qf;rzjje§glgpm Realized s 163.00
PETlT|ON($ 163.00)
|§'toocumem Avatrabre (#1032751633;
04_12_2016 pFE7 - 97250000 j:%%j§azg;gpm Realized $ 6.00
LAW L|BRARY F"EE($ 6.00)
04-12-2016 OClSR - mecom §§gj§§§j§m Realized s 25.00
OKLAHOMA COURT |NFORN|AT[ON SYSTENI REVOLV|NG FUND($ 25.00)
04-12-2016 och - macon Q:%Q§B?§jgpm Realized $ 1.55
OKLAHOMA COUNC|L ON JUD|C|AL COMPLA[NTS REVOLVING FUND($ 1.55)
04-12-2016 OCASA - avenues §:%;j§§§§§m Realized s 5.00

OKLAHOMA COURT APPO|NTED SPEClA|_ ADVOCATES($ 5.00)

 

littp://www.oscn.net/applications/oscn/gct;cascinformation.asp?query:trne&sr... Monday, May 16, 2016

Case 4:16-cv-OO274-.]ED-FHI\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 35 of 47

OCIS Case Summary for CJ-2016-l412- HIGHTOWER, LANCE W v. USAA CASUAL... Page 3 of 4

 

 

Date Code Count Party Serial # Entry Date

04-12-2016 schl-lscPc - evzaoao»t §§gj§a?§j§pm Reatized $ o.oo
sHERn=F's sERvicE FEE FOR couRTHousE sEcuRiTv PER BoARo oF couNTY
commissioners

04-12-2016 ccADi\/uNcsF - manage jig;j§a§§j§m Reaiized s 0.00
couRT cLERK AoMlleTRArlvE FEE 0N couRTHousE sEcuRiTY PER BoARo oF
couNTY coMMiSSiONER

04-12-2016 ccAoMtNmss - evzaoooe Qggj§§§j§m Realized s 0.16

COURT CLERK ADM|N|STRAT|VE FEE ON $1.55 COLLECT|ON($ 0.16)

 

04-12-2016 SJF|S - evzaooov §f,’,§.,j§a?§j§m Realized $ 0.45

STATE JUDIC|AL REVOLV|NG FUND - |NTERPRETER AND TRANSLATOR SERV|CES($ 0.45)

 

04-12-2016 ccAoMiN04 - gvzaoooe j§;j§a§§j§m Reatized $ 0.50

COURT CLERK ADM|N|STRAT|VE FEE ON COLLECT|ONS($ 0.50)

 

 

 

04-12-2016 LTF - manage j§)gj§g§$g§m Realized $ 10.00
LENGTHY TR|AL FUND($ 10.00)
04-12-2016 TExT - 97279995 j§'$j§§§g§m - $ 0.00
octs HAS AuToMATicALLY ASS|GNED nrer sEi_LERS, JEFFERSQN o. ro THts cASE.
A 12 2016
04-12-2016 AccouNT - 91280027 4:%'7:11:950,,,\,, - s 0.00

RECE|PT # 2016-3309100 ON 04/12/2016.

PAYOR:R|CHARDSON RlCHARDSON TOTAL AMOUNT PAIDI $213.66.

L|NE lTE|VlS:

CJ-2016-1412I $163.00 ON ACO1 CLERK FEES.

CJ-2016-1412: $6.00 ON ACZS LAW L|BRARY FEE.

CJ-2016-14‘l2! $0.66 ON AC31 COURT CLERK REVOLV|NG FUND.

CJ-2016-1412: $5.00 ON ACSB OKLAHOMA COURT APPO|NTED SPEC|AL ADVOCATES.
CJ-2016-1412: $1.55 ON AC59 COUNC|L ON JUD|C|AL COMPLAINTS REVOLV|NG FUND.
CJ-2016-»1412: $2.00 ON AC64 D|SPUTE MEDIAT|ON FEES.

CJ-2016-1412: $0.45 ON ACSS STATE JUD|C|AL REVOLV|NG FUNDl |NTERPRETER SVCS.
CJ-2015-1412: $25.00 ON AC79 OC|S REVOLV|NG FUND.

CJ-2016-1412: $10.00 ON AC81 LENGTHY TR|AL FUND.

 

 

 

04-13-2016 stv\l= - 91296265 j§,§,j§f§f§pm Reaiized $ 10.00
summons FEE-2($ 10.00)
04-13-2016 ervinle - 97296272 jg;jjo§§§§m - $ 0_00
suMMQNs tssqu - MA|LEo BY ATToRNEY-z
A 13 2016
04-13-2016 AccouNT - 97296291 4:°2'5:15:123,,~, - $ 0.00

RECE|PT # 2016-3309905 ON 04/13/2016.

PAYOR:RICHARDSON R|CHARDSON TOTAL AMOUNT PA|D§ $10.00.
L|NE |TEMS:

CJ-2016-1412: $10.00 ON ACO1 CLERK FEES.

 

htt;p://www.oscnnet/applications/oscn/getcaseinformation.asp?query=true&sr... Monday, May 16, 2016

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OCIS Case Summary for CJ-2016-l4l2- HlGHTOWER, LANCE W V. USAA CASUAL... Page 4 of4

Date Code Count Party Serial # Entry Date
A 26 2016
04-25-2016 AMP - HlGHToWER, LANCE W 97421452 g:%ra:$.,:ggsAM - $ 0.00

AMENoEo PETlTiON
lit oocumenr Avartabte 7#1033117391)

 

usAA cAsuALrv May 5 2016
05'04'2016 5 ' lNSURANCE co 97525376 9;11;59:723AM ' $ O'OO

PARTY HAS BEEN SUCCESSFULLY SERVED. USAA CASUALTY INSURANCE COMPANY
SERVED l CERT MA|L l STAN|PED RECE|VED BY OK lNSURANCE DEPT f DEL ON 4-27-16
i§'lDocume/rt Ava."lable (#1033160739}

 

May 5 2016
05_04_2016 3 - FuLToN. THOMAS A 97525407 9:12:43:893AM - $ 0.00

PARTY HAS BEEN SUCCESSFULLY SERVED. THOMAS FULTON SERVED !CERT MA|L."
S|GNED BY PATR|C|A FULTON l NO DEL DATE

i:§jDocument Availab!e (#1033160735}

 

 

Report Generated by The Oklahoma Court |nformation System al May 16, 2016 9:23 AM

End of Transmission.

http://www.oscn.net/applications/oscn/’getcaseinformation.asp?qLtery=true&sr... Monday, May 16, 2016

Case 4:16-cv-OO274-.]ED-FHl\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 37 of 47

PA'.":E 1
MAlL-GENR-|

555

s
§

HON|EOWNERS POL|CY PACKET

EFFECT|VE: 09-27-14 TO: 09-27-15

SUSAN I HIGHTOWER
4811 S 192ND EAST AVE
TULSA OK 74134-7218

cic 01129 99 95 93A
lMPORTANT MESSAGES

Refer to your Declarations Page and endorsements to verify that coverages, |imits, deductiblss and other
policy details are correct and meet your insurance needs Fiequired information forms are also enclosed
for your review.

l) USAA considers many factors when determining your premium. Maintaining your
property to reduce the probability of loss is one of the most important steps
you can take toward reducing premium increases. A history of claim activity will
affect your policy premium.

2) Go to usaa.com to view policy coverages and home features.

3) Your policy does NDT cover loss due to flood from any source. For information about
obtaining flood coverage from the National Flood insurance Program (NF|P) , call USAA
at (800) 531-8722, or contact the NF|P directly.

if you already have a flood policy, you should review it to make sure you have the
appropriate coverage and iimits. No automatic increases or adjustments are applied to
your policy. Coverage for loss of household contents due to flood may be available at
an additional cost. if you have questions, please call a member service
representative at the phone number above.

This is not a bil|. Any premium charge or return for this policy Wil| be reflected on your next regular
monthly statement
To receive this document and others electronically or view your policy summary online, go

to usaa.com.
For U.S. Ca|is: Policy Service (800) 531-81 i 1. Claims (800) 531-8222.

Hocs1 49709-0406
Exhibit 6

Case 4:16-cv-OO274-.]ED-FHl\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 38 of 47

`PPGE 2

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Case 4:16-cv-OO274-.]ED-FHl\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 39 of 47

PP(E 3
USAA CASUALTY INSURANCE COMPANY MAlL-GENR-|

0 9800 Fredericksburg Road - San Antonio, Texas 78288
USAA RENEWAL DECLARATIONS PAGE

Named insured and Residence Premises Policy Number
SUSAN l HlGHTOWER AND LANCE W HlGl-lTOWER CIC 01129 99 95 93A

4811 S 192ND EAST AVE
TULSA, TULSA, OK 74134-7218

Policy Period From: 09/27/14 To: 09/27/15
(12:01 A|Vl. standard time at location of the residence premisesi

SECT|ON l - COVERAGES AND AMOUNTS OF lNSURANCE
CovERAGE A - DWELLING PROTECTION $199,000
COVERAGE B - oTHER STRUC'IURES PROTECTION $49,750
CoVERAGE C - PERSONAL PROPERTY PROTECTION $149,250
covERAGE D - Loss oF USE PROTECTION (UP To 12 MoN'rHs) UNLIMITED
SECT|ON ll - COVERAGES AND LlMiTS OF L|AB|LITY
Personal Liability ~ Each Occurrence $300, 000
lVledical Payments to Others $5l 000

DEDUCT|BLES (App|ies to SECT|ON l Coverages ONL¥)
We cover only that part of the loss over the deductible stated
wIND AND HAIL $1,990 (1%)
ALL oTHER PERILS $1,000

POL|CY PREM|UM for Section l and Section ll Coverages Above $1,158.19

 

 

 

 

CREDlTS AND DlSCOUNTS (lncluded in policy premium above.l $1, 000 . 93 CR
Details on the following page. (|f applicablei

OTHER COVERAGES AND ENDORSEMENTS $130 . 67
Forms and Endorsements are printed on the following page
STATE SURCHARGES AND TAXES (Shown below if applicable)

 

 

 

§§:;1qrAt-~»-potichPRE_Mwn-.e;y-"< ' ‘ '

g- 's;;or ' me ropjuqreiic

   

    

 

 

 

PREMIU'M DUE AT INCEPTION. THIS IS NOT A BILL. STATEMENT TO FOLLOW.

 

 

 

FIRST MORTGAGEE:
PHH MoRTGAGE SERvIcEs LOAN NR 0045658184

(DEPT 8722)
ISA/ATIMA, ATTN: INSURANCE DEPT
PO BOX 5954, SPRINGFIELD, OH 45501-5954

ln witness whereof, this policy is signed on 97/23/14

mw

Steven Alan Bennett, Secretary Kevin Bergner. Presldent

REFER TO YOUR POL|C\' FOR OTHER COVERAGES, LlMiTS AND EXCLUSIONS.

HO.D1 (07-08) ATTACH THIS DECLAR.ATION TO PREVIOUS POLICY 87025-0708

Case 4:16-cv-OO274-.]ED-FHl\/| Document 2 Filed in USDC ND/OK on 05/16/16 Page 40 of 47

PAGE 4
'\J \\
§ § usAA cAsuALTY leuRANcE coiviPANv
USAA® FiENEWAL DECLARAT|ONS PAGE
Policy Number Policy Term: 09/27/14 09/27/15
C|C 01 129 99 95 93A inception Expiration
POL|CY AND ENDORSEMENTS THAT ARE PART OF YOUR CONTRACT WlTH US.
REMA|N |N EFFECT (Refer to prior Policy Packet(s) for documents not attached.):
QR9C|C (07~08) QUiCK REFERENCE~PREFERRED PROTECT|ON
HO'§R(OZ) (07*08) PREFERRED PROTECT|ON PLAN
HO'ACP (07'12) AMENDMENT TO CONTRACT PROVlS|ONS
HO“OK (07-08) OKLAHOMA SPECIAL PROVlSiONS
HOSLSQ(OZ) (07-08) SPEC|AL LOSS SETTLEMENT
HO'ZOB (07~12) WATER BACKUP OR SUMP PUMP OVERFLOW
ADDED:
HO-}]O (07-08) EARTHQUAKE $l30.67

YOUR PREM|UM HAS BEEN REDUCED BY THE FOLLOW|NG CRED|TS AND DISCOUNTS:

AUTO AND HOME COMBINAT|ON DiSCOUNT $lh§.Zl CR
CLA|MS FREE DiSCOUNT $ilt§.Zl CR
HOME AGE DiSCOUNT $7114.5l CR

HO-DZ (07-08) 07/28/ 14 avoze-ovos

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CIC 01129 99 95 93A

HO-370 (07-08)

THlS ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

EARTHQUAKE

For an additional premium, we insure for direct
physical loss to property covered under
SECT|ON l-PROPERTY WE COVER of the policy
to Which this endorsement is attached caused
by earthquake including land shock waves or
tremors before, during or after a volcanic
eruption.

One or more earthquake shocks that occur
within a seventy-two hour period shall
constitute a single earthquake

The amounts of insurance for earthquake
coverage are the same as the amounts of
insurance applying to SECT|ON l-PFiOPEFiTY
WE COVER in the policy to which this
endorsement is attached

DEDUCT|BLE

The following deductible provision applies to
any loss covered by this endorsement and, in
that respect replaces any deductible provision
in the policy to which this endorsement is
attached:

We will pay only that part of the loss which
exceeds 10 % of the amount of
insurance for Coverage A - DWELLING.

This deductible will apply separately to each
single earthquake

lf any other endorsement attached to this
policy allows you to make claim for an
additional amount above the amount of
insurance shown on the policy Declarations, the
combined total will be used to calculate the
deductible amount

This deductible does not apply to Coverage D
Loss of Use Protection.

SPEC|AL EXCLUS|ON

We do not cover loss resulting directly or
indirectly from flood of any nature or tidal
wave, whether caused by, resulting from,
contributed to or aggravated by earthquake

Except as specifically modified in this
endorsement ali provisions to the policy to
which this endorsement is attached also apply
to this endorsement

Term Premium $130.67

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HO-370 (07-08)

87048-0708
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CIC 01129 99 95 93A

WORKERS' COMPENSAT|ON NOT|CE

lVlost states now require employers to carry Workers' Compensation coverage for their employees ln
a number of states this coverage applies to household workers, gardeners and even baby-sitters. The
employer usually becomes liable to the employee for the protection after the employee has earned a
certain minimum salary or worked a certain minimum number of hours per week/per quarter. You
should consult the appropriate agency below for the requirements in your state

We do not write Workers' Compensation in your state Your current policy does not provide lVledical
Payments or Liability coverage for injury to an employee who is or is supposed to be covered by
Workers' Compensation This should not alarm you, however, since Workers' Compensation coverage
can be obtained separately from another company or agency. Contact the department listed below for
guidance in purchasing your Workers' Compensation coverage

REMEMBER, you do not have to give up your present insurance with us in order to purchase Workers'

Compensation coverage from another source

ALASKA

Workmen's Compensation Division
Department of Labor

P.O. Box 25512

Juneau, AK 99802-5512

COLORADO

Workers' Compensation Section
Division of Labor

1 120 Linco|n St, 14th F|oor
Denver, CO 80203

CONNECT|CUT

Workers' Compensation Commission
1890 Dixwell Avenue

Hamden, CT 06514

DELAWARE

lndustrial Accident Board

State Office Bui|ding, 6th F|oor
820 North French Street
Wilmington, DE 19801

DlSTRlCT OF COLUMB|A

DC Department of Emp|oyment Services
Labor Standards Bureau

Office of Workers' Compensation

64 New York Avenue, NE, 2nd floor
Washington, DC 20002

1097 (12-07)

HAWA||

Disability Compensation Division

Department of Labor and industrial Relations
P.O. Box 3769

Honolulu, Hl 96812

lOWA

Division of industrial Services, Department of
Emp|oyment Services

1000 E. Grand Avenue

Des Moines, |A 50319

KANSAS

Division of Workers' Compensation
Department of Human Resources
600 lVlerchants Bank Tower

800 SW Jackson

Topeka, KS 66612-1227

KENTUCK¥

Department of Workers' Claims
Perimeter Park West

1270 Louisville Rd, Bui|ding C
Frankfort, KY 40601

65704-1207
Page 1 of 2

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MARYLAND

Workers' Compensation Commission
6 North Liberty Street

Baltimore, lVlD 21201

MASSACHUSETTS

Department of lndustria| Accidents
600 Washington St, 7th F|oor
Boston, MA 021 1 1

MlCHlGAN

Bureau of Workers' Disability Compensation
Department of Labor

P.O. Box 30016

201 North Washington Square

Lansing, lVl| 48909

MlNNESOTA*

Workers' Compensation Division
Department of Labor and |ndustry
443 Lafayette Road

St. Pau|, lVlN. 55155

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CIC 01129 99 95 93A

OHIO

Workers' Compensation Board
30 West Spring Street
Co|umbus, OH 43266-0581

OKLAHOMA

Oklahoma Workers' Compensation Court
1915 N. Sti|es

Oklahoma City, OK 73105

SOUTH CAROL|NA

Workers' Compensation Commission
1612 lVlarion St

P.O. Box 1715

Co|umbia, SC 29202

SOUTH DAKOTA

Division of Labor and lVlanag¢ment
Department of Labor

Kneip Bui|ding, Third F|oor

700 Govenors Drive

Pierre, SD 57501-2277

UTAH

industrial Commission
160 East 300 South
Sa|t Lake City, UT 841 1 1

* BE ADVlSED that your policy only applies to injuries received by employees excluded from
coverage by the Workers' Compensation statutes under lVlinn. Stat 176.041, Subd. 1. You may be
liable for any claims or expenses occurring outside of the Coverage of this policy. As an employer
you may be subject to liability for lost wages, medical payments, rehabilitation for work related
injuries, as well as additional amounts in penalties if workers' compensation coverage is required
and no policy has been obtained Also you may be penalized up to $1,000 per week per employee
for any period of non-insurance pursuant to lVlinn Stat 176.181, Subd. 3.

1097 (12-07)

Page 2 of 2

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PAGE 8
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Your Home Characteristics

Our mission at USAA is to help protect your financial security. One way we do this is by helping you
determine if you're adequately covered in the event of a loss. We can calculate the minimum
rebuilding cost of your home based on your home characteristics but only you can decide if this is
enough coverage Our estimates are based on average construction costs and labor costs for
geographic areas and may not reflect the unique features of your home or the area you live in.

On the back of this page, you'll find your home characteristics lf any of the information is
incorrect, the rebuilding cost may be affected, so please revise any inaccuracies by:

¢ Logging on to usaacom, selecting your policy and then Home Characteristics, or
¢ Ca|ling us at 1-800-531-USAA (8722).

Shou|d l adjust the coverage on my flood or wind pollcy?

|f you have a separate flood or wind policy for this property, please call your agent or insurer to
confirm that your coverage is adequate For flood or wind policies serviced by the USAA Insurance
Agency, please call 1-800-531-8444 for flood policies or 1-800-531-8883 for wind policies Wind
coverage is available in Alabama, F|orida, North Carolina, South Carolina, Texas and lVlississippi.

60321-0613_01
60321(03) Rev. 06-13 Page 1 of 2

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LAST PAGE 9

CIC 01129 99 95 93A

Your Home Characteristics

YEAR BUILT:
STORIES:
*SQUARE FEE‘I':

2007
1.0
1818

*Total Square Footage: includes garage square footage if there is living space that is heated or
cooled above the garage lt does not include a finished basement or attic.

FOUNDATION (S) :
EXTERI OR WALL :

ROOF COVERING:
YEAR ROOF INSTALLED:
GARAGE TYPE:

INTERIOR WALL PARTITIONS:
INTERIOR WALL COVERINGS:
FLOOR COVERINGS:

KI TCHEN :
BATHROOMS :

FIRE PLACE
HEAT & AIR :

WIRED FOR CENTRAL ALARM:

60321(03) Rev. 06-13

SLAB

BRICK OVEF{ FRAlVlE

V|NYL S|DlNG
ASPHALT/F|BERGLASS SH|NGLE
2007

ATTACHED GARAGE - 2 CAR

DRYWALL

PA|NT

CARPET (STANDARD) WALL TO WALL
CERA|V||C T|LE

1 STANDARD

1 STANDARD,‘ 1 CUSTOIVI

: NGNE

HEAT|NG - GAS
CENTRAL A|Fi COND|T|ON|NG ~ SAN|E DUCT

NO

Page 2 of 2

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(1) LANCE W. HIGHTOWER and
(2) sUE 1. HIGHToWER,

Plaintiffs,
v. Case No.

(1) USAA CASUALTY INSURANCE Removed from the District Court of

 

CO. and Tulsa Counzj), State of Oklahoma.
(2) THOMAS A. FULTON, lndependent Case No. CJ-20]6-014]2
Appraiser,
Defendants.

 

DECLARATION OF JODI W. DISHMAN
I, Jodi W. Dishman, declare as follows based on personal lcnowledge:
l. I am an attorney with McAfee & Taft and am one of the attorneys for Defendant
USAA Casualty Insurance Company (“USAA CIC”) in the above-entitled cause of action.
2. I am familiar with USAA CIC through my representation of USAA CIC.
3. USAA CIC is a corporation incorporated in Texas with its principal place of
business in San Antonio, Texas.
I declare under penalty of perjury that the foregoing is true and correct
Executed on the 16th day of May, 2016.
s/Jodi W. Dishman
Jodi W. Dishman, OBA # 20677
McAfee & Taft A Professional Corporation
211 North Robinson, 10th Floor
Oklahoma City, OK 73102
Telephone: (405) 235-9621
Facsimile: (405) 235-0439

E-mail: j odi.dishman@mcafeetaft.com

ATTORNEY FOR DEFENDANT USAA
CASUALTY INSURANCE COMPANY

17247348_1

Exhibit 7

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NAIC Consumer Information Source

Nationa| Association rif
insurance Commissioners

Consumer information Source

https://eapps.naic.org/cis/companySearch.do

NAlC HOME l ClPR l NEWSROOM l ABOUT l CONTACTS l HELP

 

 

\PAN'I' SEARCH

HOW' TO F|LE k COMPLA|NT HELP

 

Company Search Results:

¥our search matched the companies displayed below, Please be aware that
an insurance company may have different subsidiaries with different
names. P|ease check your policy for the correct name. Click the links
in the 'Available Information' to view closed consumer complaintsr financial
information and/or insurance writing information for a company. Click here
to contact us if you were unable to find a company using the CIS Company

Search.

Company Search Help

C°mPa"'Y: .LJ.$..A.P§.Q§.S..I.D_S..(.:.Q

Business Type: Property and Casualty
Home Office: TX

NAIC#: 25968

Avai|abie Information

Closecl Complaints
Licensing
Fina ncia| Information

All of the search results have been returned.

®.®00

Company Search for Complaint
and Financial Information

Company Name or Company Cocie
*

USAA Casualty Insurance

Business Tii e:

Find a Company

 

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_-'nfor.u ia hon Detaiiase

GRID is a voluntary database provided
by the state insurance departments to
report information on insurer
receiverships for consumers, claimants,
and guaranty funds.

eapps.prod.fi]

HOME | CAREERS | STAFFNET | CONTACTS l HELP | LINK AGREEMENT | COPYR[GHT & REFR|NTS | PR|VACY |S|TE MAP
NA|C PROGR.AMS AND AFF|L|ATES: |NSURE U | N|PR | SERFF [ SBS l llPRC

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lofl

Exhibit 8

5/13/201()5:491’1\/[

